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7
8                              UNITED STATES DISTRICT COURT
9                            NORTHERN DISTRICT OF CALIFORNIA
10
11    GEORGE E. BARICH and                          Case 3:21-cv-00034-EMC
12    LAURIE ALDERMAN.
                                                    OPPOSITION TO MOTION TO DISMISS,
13                     Plaintiffs,                  STRIKE, AND FOR A MORE DEFINITE
                                                    STATEMENT OF FIRST AMENDED
14    vs.                                           COMPLAINT

15    CITY OF COTATI and                            Date: July 15, 2021
      JOHN A. DELL’OSSO,                            Time: 1:30 pm
16                                                  Location: Courtroom 5/Zoom
                        Defendants.                 Judge: Hon. Edward M. Chen
17                                                  Complaint filed: January 5, 2021
18                                                  Trial date: Not set

19
20   INTRODUCTION
21           Defendants City of Cotati (“the City”) and John A. Dell’Osso (“Dell’Osso”)

22   (collectively, “Defendants”) move to dismiss, strike and for a more definite statement on

23   the same bases as their first motion, essentially disregarding the factual impact and legal

24   ramifications of the robust and detailed allegations Plaintiffs have added to the First

25   Amended Complaint (“FAC”).

26           Defendants’ motion to strike, dismiss, and for a more definite statement should be

27   denied. Leave to amend should be granted if the motion is granted.

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1    ARGUMENT
2    1.     Defendants’ Motion to Strike should be denied.
3           Defendants seek to strike allegations of events before January 8, 2019 on the
4    grounds that they are barred by the statute of limitations and have “no logical
5    relationship” to Barich’s claims. Defendants are wrong on both counts. First, Barich is not
6    seeking damages for the prior unconstitutional conduct by the City and the allegations do
7    not form the legal basis for such a claim. The allegations of the City’s past mistreatment
8    of Barich and retaliation toward him are not alleged as separate claims against the City, as
9    the City well knows. As such, the statute of limitations is not a basis for striking the
10   allegations.
11          Next, having “no logical relationship” is not the standard for a motion to strike.
12   Under FRCP 12(f), “the court may strike from a pleading an insufficient defense or any
13   redundant, immaterial, impertinent, or scandalous matter.” Motions to strike are viewed
14   negatively because of the limited import of the pleadings under the Federal Rules, and
15   “should not be granted unless it is clear that the matter to be stricken could have no
16   possible bearing on the subject matter of the litigation.” Colaprico v. Sun Microsystems,
17   Inc., 758 F.Supp. 1335, 1339 (N.D. Cal. 1991) (emphasis added). “Motions to strike are
18   generally regarded with disfavor because of the limited importance of pleading in federal
19   practice, and because they are often used as a delaying tactic.” Neilson v. Union Bank of
20   Cal., N.A., 290 F.Supp.2d 1101, 1152 (C.D. Cal. 2003).
21          Defendants have not shown that the allegations are redundant, immaterial,
22   impertinent, or scandalous, and they certainly do not show that the matters to be stricken
23   could have no possible bearing on the subject matter of the litigation. Rather, they
24   provide historical context for the City’s conduct on the dates in question, including
25   discriminatory intent. Barich’s equal protection claim requires a showing that he was
26   intentionally treated differently from others. Allegations related to prior incidents when
27   he was treated differently from others and when his civil rights were violated by the City
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1    are probative on the issue of intent. Alderman’s claim for First Amendment violations
2    involves a showing of an official policy or custom to violate First Amendment rights as
3    well as willfulness. Allegations related to prior instances of First Amendment violations
4    by the City are probative on this issue. The Monell claim likewise involves a showing of
5    conduct carried out under custom and policies of the City, so instances of past violations
6    are likewise probative of these custom and policies.
7           The Court should deny Defendants’ motion to strike allegations of events that
8    occurred before January 8, 2019.
9    2.     The claims for violation of the First Amendment should not be
10          dismissed and do not require clarification.
11          Defendants persist in arguing that Plaintiffs “studiously avoid” alleging that
12   Alderman was not allowed to speak at all. Alderman did not studiously avoid this
13   allegation; she did not assert it because it is not the basis for her First Amendment claim.
14   If anything, Defendants “studiously avoid” confronting the real basis for her claim: that
15   the City put an unconstitutional content-based restriction on her speech by not allowing
16   her to speak on behalf of Barich.
17          In avoiding the actual factual basis for Alderman’s claim, the City can then make
18   the same argument it made in its First Motion to Dismiss, that the City was allowed to
19   follow its City Council Rule that no one is allowed to yield their time to another person.
20   The City, once again, argues that there is no constitutional right to be heard by a public
21   body, and that it is a limited public forum subject to reasonable time, place, and manner
22   restrictions, citing Ribakoff v. City of Long Beach (2018) 27 Cal.App.4th 150. However,
23   as Plaintiffs pointed out on the first motion to dismiss, Ribakoff was decided after a bench
24   trial, not at the pleading stage. The Ribakoff court upheld the statute at issue because no
25   evidence was presented at trial that the restriction on the plaintiff’s speech was
26   content-based. Here, Alderman has alleged that the restriction on her speech was content-
27   based, and a motion to dismiss is not the proper procedure to decide this factual issue.
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1           Defendants also again argue that civil rights are personal and Alderman cannot
2    assert the rights of Barich. This argument misconstrues the allegations in the FAC;
3    Alderman does not assert the constitutional rights of Barich. She alleges that her own
4    speech was unlawfully restricted and censored. Furthermore, Defendants cannot simply
5    pronounce that Rule IV(A)(3) is a “reasonable time, place and manner restriction.” These
6    are factual issues to be decided at the appropriate stage of these proceedings.
7           It is clear from this Court’s ruling on the first motion to dismiss that the Court was
8    not persuaded by either of these arguments. Rather, the Court merely ruled that Plaintiffs
9    “do not allege any specific instances where Mayor Dell’Osso (or his predecessors)
10   allowed a similarly situated individual to read a written statement into the record during a
11   City Council meeting.” [ECF No. 34 at 2:4-9]
12          In compliance with the Court’s specific direction, Plaintiffs added extensive
13   factual detail in Paragraph 19 of the FAC. As the Court requested, Plaintiffs identify 13
14   instances when the City allowed a similarly situated individual to read a statement of
15   another individual into the record. Not surprisingly, Defendants’ second motion to
16   dismiss does not mention Plaintiffs’ detailed response to this Court’s specific request.
17   3.     The claims for violation of Equal Protection should not be dismissed
18          and do not require clarification.
19          As on their first motion to dismiss, Defendants cite no legal authority in
20   challenging Plaintiffs’ Equal Protection claims. Unlike their First Amendment challenge,
21   Defendants at least acknowledge the robust allegations in paragraph 19 of the FAC.
22   Again without citing any legal authority, Defendants boldly conclude that paragraph 19
23   “does not satisfy the pleading obligations to establish existence of the purported class.”
24   Notably, Defendants do not identify that standard or cite any support for it.
25          Defendants go entirely outside the face of the pleading by arguing that paragraph
26   19 “primarily” references people appearing for corporate entities. And, of course,
27   Defendants offer no support for this factual statement which is beyond the face of the
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1    FAC. Defendants then nitpick the allegations in paragraph 19, essentially arguing the
2    Plaintiffs failed to plead additional facts to support their facts. This is not the pleading
3    standard in federal court. A complaint must “contain sufficient factual matter, accepted as
4    true, to state a claim to relief that is plausible on its face.” FRCP 12(b)(6); Ashcroft v.
5    Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (internal quotation
6    marks and citation omitted); Byrd v. Phoenix Police Dep’t, 885 F.3d 639, 642 (9th Cir.
7    2018) (per curiam). Plaintiffs’ facts must be accepted as true when they are not
8    conclusory. Although Defendants might prefer more factual detail, it is not required
9    where the FAC contains sufficient factual matter, accepted as true, to state a claim for
10   relief that is plausible on its face.
11          Defendants next make a speculative argument challenging a claim that is not found
12   in the FAC. Defendants argue that there is no allegation that Barich would not have been
13   allowed to speak had he chosen to come to the City Council meeting. This is true.
14   Barich’s claim is not based on the speculation of what would have occurred had he
15   attended the meeting. And, to be sure, Defendants would have challenged the claim as
16   speculative had Barich alleged it. Defendants also repeat their conclusion, without
17   citation to any legal authority, that the City Council Rules are apparently automatically
18   and indisputably lawful “time, place and manner restrictions.” Just as they did in their
19   first motion to dismiss, Defendants make no effort to show that the City Council Rules
20   constitute reasonable time, place, and manner restrictions. As Plaintiffs argued in
21   opposition to the first motion, such a determination requires a factual analysis far beyond
22   the scope of a motion to dismiss. Reasonable time, place, and manner regulations of
23   protected speech are valid if (1) they are justified without reference to the content of the
24   regulated speech; (2) they are narrowly tailored to serve a significant or substantial
25   government interest; and (3) they leave open ample alternative channels of
26   communication. Mitchell v. Commission on Adult Entertainment Establishments, 10 F.3d
27   123, 130 (3d Cir. 1993).
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1           The Court apparently was not persuaded by these arguments on the first motion to
2    dismiss: its ruling simply required Plaintiffs to allege any specific instances where Mayor
3    Dell’Osso (or his predecessors) allowed a similarly situated individual to read a written
4    statement into the record during a City Council meeting. The FAC adds these specific
5    factual allegations at paragraph 19.
6    4.     The Monell claim should not be dismissed and does not require
7           clarification.
8           The Court ruled that Plaintiffs failed to plead a plausible constitutional violation in
9    their claim that the City had an unconstitutional policy, custom, or practice in violation of
10   42 U.S.C. § 1983 pursuant to Monell v. Department of Social Services, 436 U.S. 658
11   (1978). It further ruled that Plaintiffs failed to allege in non-conclusory terms that the City
12   had a policy or custom of violating individuals’ First Amendment and equal protection
13   rights and that Plaintiffs did not allege facts establishing Mayor Dell’Osso is the final
14   policymaker for the City.
15          The FAC includes additional factual allegations addressing these deficiencies. The
16   additional allegations at paragraphs 21-25 show the City’s ongoing, years’ long, history
17   of violating Plaintiffs’ rights under the First Amendment, Equal Protection Clause and
18   Plaintiff Barich’s rights under the ADA. “[A] custom or practice can be inferred from
19   widespread practices or evidence of repeated constitutional violations for which the errant
20   municipal officers were not discharged or reprimanded.” Hunter v. Cty. of Sacramento,
21   652 F.3d 1225, 1233 (9th Cir. 2011). A court must consider the duration, frequency, and
22   consistency of the conduct challenged, as “[l]iability for improper custom may not be
23   predicated on isolated or sporadic incidents.” Trevino v. Gates 99 F.3d 911, 918 (9th Cir.
24   1996). At bottom, courts must assess whether the conduct challenged was “so persistent
25   and widespread” that it “practically [had] the force of law” or had “become a traditional
26   method of carrying out policy.” Id.; Connick v. Thompson, 563 U.S. 51, 61 (2011).
27   Defendants do not even address these new allegations, let alone show that a reasonable
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1    inference cannot be drawn from the new allegations as to the City’s custom and practice.
2    They simply repeat their arguments from their first motion to dismiss verbatim.
3           Paragraph 82 specifically alleges that Dell’Osso is the final policy maker at the
4    City and had final policymaking authority. Whether a particular official has final policy
5    making authority is a question of state law. Pembaur v. City of Cincinnati, 475 U.S. 469,
6    483 (1986). In California, a city’s charter controls on municipal issues. City and County
7    of San Francisco v. Patterson, 202 Cal.App.3d 95, 102 (1988). The City of Cotati’s City
8    Council Rules, at Section II.C.1, provide that the mayor has authority and discretion to
9    preserve order at all Council meetings and sets out his full array of authority at City
10   Council meetings. Request for Judicial Notice, served and filed herwith, at Exhibit A.
11   5.     The claim for violation of the ADA should not be dismissed and does not
12          require clarification.
13          The Court ruled that Barich failed to state a claim under the ADA because, since
14   his claim was predicated on the isolated failure of hearing-assist devices during a single
15   City Council meeting, he did not allege the threat of imminent future harm. The Court
16   further ruled that Plaintiff did not allege facts showing deliberate indifference because the
17   failure of the hearing aid devices did not appear to be an intentional act designed to
18   exclude him from participating.
19          The FAC alleges additional facts demonstrating that the violation complained of
20   was not an isolated incident. Paragraph 21 alleges that Barich’s complaints go back over
21   ten years. Barich alleges that the hearing-assist devices in the community room of the
22   Cotati police station in general do not work because of the lack of a public address
23   system. The FAC alleges that Barich has complained about the sound amplification in the
24   community room many times in the past but the City has failed to rectify the situation.
25   These facts show deliberate indifference.
26          In addition, Barich has now had an expert inspect the community room and the
27   hearing-assist device now used by the City. He has opined that the device used by the
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1    City is not appropriate and will never provide an adequate solution in a typical meeting
2    environment where the listener is not in the immediate vicinity of the person speaking.
3    Decl. of Robert B. Skye, served and filed herewith, Exhibit B.
4    6.     The prayer for exemplary damages should not be dismissed and does
5           not require clarification.
6           Defendants once again argue that the “claim” for punitive damages should be
7    dismissed because the FAC only includes a request for exemplary damages in the prayer
8    but does not otherwise specifically address the request for punitive damages. There is no
9    “claim” for punitive damages alleged in the FAC—Plaintiffs request punitive damages as
10   an item of damages. A complaint is not subject to a motion to dismiss for failure to state a
11   claim under Rule 12(b)(6) because the prayer seeks relief that is not recoverable as a
12   matter of law. See, e.g., Monaco v. Liberty Life Assur. Co., No. C06-07021 MJJ, 2007
13   U.S. Dist. LEXIS 11741, 2007 WL 420139, at *6 (N.D. Cal. Feb. 6, 2007); Oppenheimer
14   v. Southwest Airlines Co., No. 13-CV-260-IEG (BGS), 2013 U.S. Dist. LEXIS 85633,
15   2013 WL 3149483 at *4 (S.D. Cal. June 13, 2013) (“Because punitive damages are but a
16   remedy, and thus neither constitutes a claim nor pertains to whether any claim has been
17   stated, requests for punitive damages provide no basis for dismissal under Fed. R. Civ. P.
18   12(b)(6).”); In re Methyl Tertiary Butyl Ether (“MTBE”) Products Liability Litigs., 517
19   F.Supp.2d 662, 666 (S.D.N.Y. 2007) (“Punitive damages are not a claim and thus [motion
20   to dismiss] is an ill-sited procedural vehicle.”) Thus, Defendants’ motion to dismiss is
21   procedurally improper.
22          As Defendants concede in their argument regarding Dell’Osso, a “jury may award
23   punitive damages under Section 1983 either when a defendant’s conduct was driven by
24   evil motive or intent, or when it involved a reckless or callous indifference to the
25   constitutional rights of others.” Dang v. Cross, 422 F.3d 800, 807 (9th Cir. 2005) (quoting
26   Morgan v. Woessner, 997 F.2d 1244, 1255 (9th Cir. 1993)). The FAC alleges “deliberate
27   indifference,” which is even more egregious than “reckless or callous indifference.”
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1           Lastly, as Plaintiffs pointed out in their first opposition, Government Code § 818
2    only prohibits the imposition of punitive damages against school districts sued under state
3    law applying Civil Code section 3294. The exemption does not apply to federal civil
4    rights claims. Cartwright v. Regents of the Univ. of Cal., 2009 U.S. Dist. LEXIS 62953
5    (E.D. Cal. July 21, 2009). It is well-settled that punitive damages are available in some
6    actions under the federal civil rights statutes. See Johnson v. Railway Exp. Agency, Inc.,
7    421 U.S. 454, 460, 95 S.Ct. 1716, 44 L.Ed.2d 295 (1980) (punitive damages available in
8    § 1981 suits); City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 267–268, 101 S.Ct.
9    2748, 69 L.Ed.2d 616 (1981) (punitive damages allowed in § 1983 actions); Irizarry v.
10   Quiros, 722 F.2d 869, 872 (1st Cir. 1983) (§ 1985 claim may support punitive damages).
11   Furthermore, with regard to § 1983 suits, the Supreme Court has determined that ordinary
12   tort law principles of punitive damages apply “with such modification or adaptation as
13   might be necessary to carry out the purpose and policy of the statute.” Smith v. Wade, 461
14   U.S. 30, 34, 103 S. Ct. 1625, 75 L.Ed.2d 632 (1983) (citation omitted).
15          Defendants’ renewed improper and unmeritorious motion to dismiss the punitive
16   damages request should be denied.
17   7.     The requests for injunctive relief should not be dismissed and do not
18          require clarification.
19          Defendants continue to argue that, despite the additional allegations in paragraphs
20   21-25, no facts are alleged showing a risk of reoccurrence. The new allegations in
21   paragraph 21 show a risk of reoccurrence based on the past complaints regarding
22   accommodating Barich’s disability, which the City failed to address or rectify. Paragraphs
23   22-25 show a risk of Equal Protection and First Amendment violations based on the
24   City’s historical treatment of Plaintiffs. Defendants do not address these allegations.
25          Defendants again cite only Diamond v. Corazon [sic] (N.D. Cal. 2016)
26   WL7034036, which is entirely distinguishable. In Diamond v. Corizon Health, Inc., the
27   plaintiffs were the surviving family of an individual who died after allegedly not
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1    receiving proper medical attention at the Santa Rita Jail. The defendant argued that the
2    plaintiffs lacked standing on the grounds that the decedent was no longer living.
3    Specifically, the district court held, “[b]ecause the injury was perpetrated on the decedent,
4    there is no risk of future harm.” Diamond, supra, at *13–14. Of course, Barich and
5    Alderman are very much alive and bring this action for injury to themselves personally,
6    not to a third party.
7           The motion to dismiss or clarify the claim for injunctive relief should be denied.
8    8.     Leave to amend should be granted.
9           To the extent this Court agrees with any of Defendants’ arguments, leave to amend
10   should be granted, since it is freely given where justice so requires. Fed. R. Civ. P. 15(a);
11   see also Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc). Defendants do
12   not argue that any amended pleading would be futile or subject to dismissal. In fact,
13   Defendants seek clarification in the alternative to each request for dismissal which, on its
14   face, impliedly concedes that amendment would not be futile.
15   CONCLUSION
16          Plaintiffs George E. Barich and Laurie Alderman respectfully request that the
17   Court deny Defendants’ Motion to Strike, Dismiss or Clarify the First Amended
18   Complaint.
19    Dated: May 28, 2021                            Law Offices of Carleton L. Briggs
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21                                                   /s/ Carleton L. Briggs
22                                                   CARLETON L. BRIGGS

23                                                   Attorneys for Plaintiffs GEORGE E.
                                                     BARICH and LAURIE ALDERMAN
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